Case 9:23-cv-00151-DLC-KLD Document4 Filed 01/04/24 Page 1 of 2

Trent Baker

J.R. Casillas

DATSOPOULOS, MacDONALD & LIND, P.C.
Central Square Building

201 West Main Street, Suite 201

Missoula, Montana 59802

Telephone: (406) 728-0810

Facsimile: (406) 543-0134
tbaker@dmllaw.com; kfaust@dmllaw.com
ircasillas@dmllaw.com; areiber@dmllaw.com

Attorneys for John and Stacy Ambler

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION

JOHN AMBLER and STACY CV 23-151-M-DLC-KLD
AMBLER,

Plaintiffs, MOTION FOR EXTENSION

OF TIME
VS.

FLATHEAD CONSERVATION
DISTRICT,

Defendant.

COMES NOW Plaintiffs John and Stacy Ambler (hereinafter “Amblers”) by
and through their counsel of record, Trent N. Baker and JR Casillas of Datsopoulos,

MacDonald and Lind, P.C., and hereby respectfully requests the Court to extend the

MOTION FOR EXTENSION OF TIME 1
Case 9:23-cv-00151-DLC-KLD Document4 Filed 01/04/24 Page 2 of 2

time of which to hold the Preliminary Pretrial Conference currently scheduled for
March 19, 2024, at 11:00 a.m.

The extension of time is necessary due to a conflict in Plaintiffs’ schedule and
said conflict cannot be rescheduled. Plaintiffs respectfully request the hearing be
rescheduled for the week of March 25, 2024, or thereafter.

DATED this 4" day of January, 2024.

Datsopoulos, MacDonald & Lind, P.C.

By: /s/ Trent N Baker
Trent N. Baker
Attorneys for Petitioners

MOTION FOR EXTENSION OF TIME . 2
